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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA, EX REL.,
JACQUELINE KAY POTEET and JOHN DOE,

Plaintiff,

-Vs-

LAWRENCE G. LENKE, M.D., et al

Defendants.

FILED UNDER
SEAL

No, 07 CA 10237 RGS

 

AMENDED NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the Relators,

Jacqueline Kay Poteet and Bobbie Vaden, by and through their undersigned counsel,

hereby notify the Court that the claims in the above matter as against the Defendants as

listed below in the two column table are dismissed voluntarily in this Amended Notice,

 

Lawrence G. Lenke, M.D.

K. Daniel Riew, M.D.

 

Edward S. Pratt, M.D.

Maurice Smith, M.D.

 

Mickey Morgan, M.D.

Terry Trammell, M.D.

 

James Guilee, M.D.

Jeffrey E. Deckey, M.D.

 

James L. Chapuis, M.D.

Central Ohio Neurosurgical

 

 

 

 

 

 

 

Group. O.C,

Charles Branch, M.D. Frank Schwab, M.D.

Amin Mehbed, M.D. Sylvain Palmer, M.D.

Erie Pitts, M.D. American Orthopedic Consultants,
LLC

Silber Physicians, P.C. David Lee Skagg, M.D.

Brian Suback, M.D. Spineco, Inc.,

James Harrop, M.D. Vivek Kushwaha, M.D.

Joseph Riina, M.D. Reginald Knight, M.D.

 

Robert Isaacs, M.D.

 

Jean Pierre Mobasser, M.D.

 

 
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Neel Anand, M.D. Luis Mignucci, M.D.
Paul Pagano, M.D. Micahel Grof, M.D.
David B. Kee, M.D. Michael Macmillan, M.D.
San Francisco Spine Institute John Shian, M.D.
Stanley Skinner, M.D. David Rouben, M.D.
Huan Bae, M.D. James Ogilvie, M.D.
Hal Silcox, TT, M.D. Kaushik Das, M.D.
Donald Kucharzyk, M.D. Perry J. Argires, M.D.
Daenoc, LLC Greg D. Anderson, M.D.
Robert Myles, M.D. Christian Fras, M.D.
Frederick Marciano, M.D. Randall Betz, M.D.
Joseph Flynn, Jr., M.D. Tai Friesam, M.D.
Bernard Rawlins, M.D. Sean Salehi, M.D.
Jean Pierre Farcy, M.D. Serena Hu, M.D.
Jeffrey M. Spivak, M.D. Rick Sasso, M.D.
Todd Lanman, M.D. Girard Girasole, M.D.
Steven Heim, M.D. Micahel D. Kasten, M.D.
George Teitelbaum, M.D. Edward Goldenberg, M.D.
Thomas Schuler, M.D. Russell Travis, M.D.
Robert Watkins, M.D. Lytton Williams, M.D.
Langston Holly, M.D. Innovative Spine and Grain
Surgeons, PC
Thomas Najeeb, M.D. Jason Hubbard, M.D.
James Robinson, M.D. Arthur Conley, M.D.
Theodore G. Obenchain, M.D. Edward Dohring, M.D.
Barry Lonner, M.D. Michael Swank, M.D.
Luis Duarte, M.D. John Peloza, M.D.
Muwaffek Abdulhak, M.D. Reginald Davis, M.D.
George Picetti, M.D.

 

The undersigned has consulted with counsel for the United States regarding the

purposes of this Amended Notice which are twofold: (1) to correct the spelling of the

name of Jeffrey E. Deckey, M.D., and (2) to withdraw the Notice of Dismissal of

Rolando Puno, M.D. which was filed in error. According to government counsel, the

United States consents to the Amended Notice of Dismissal without prejudice of these

 
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Defendants. United States counsel further advises that a written consent to the Amended

Notice will be filed with the Court.

The undersigned further represents to the Court that Dr. Puno’s counsel represents

several other physicians in the matter and that said counsel has advised the undersigned

that he will be attending the motion hearing on December 15, 2008.

Respectfully submitted,

December 10, 2008

JACQUELINE KAY POTEET
and BOBBIE VADEN,

By their counsel,

/s/ Andrew R. Carr, Jr.
Andrew Carr, Jr. (#5628)
Bateman & Gibson, L.L.C.
65 Union Avenue, Suite 1010
Memphis, TN 38103
901-843-2470

 

And —

/s/ Charles P, Kindregan
Richard J. Grahn (BBO#206620)

Charles P. Kindregan (BBO#554947)
Looney & Grossman, LLP

101 Arch Street

Boston, MA 02110

617-951-2800
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CERTIFICATE OF SERVICE

[hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and that paper copies will be sent to those indicated as non-registered participants
on December 10, 2008.

/s/ Andrew R. Carr, Jr.

 
